                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION

SHAWANA CAMPBELL,

              Plaintiff,                            CASE NO. 20-cv-285
      v.

CARE MATTERS, LLC,

      and

JE’TUNNE TILLIS,

              Defendant.


                           FIRST AMENDED COMPLAINT


                           PRELIMINARY STATEMENT

      1.      This is an action brought by Plaintiff Shawana Campbell by her

attorneys, Larry A. Johnson, Summer H. Murshid, and Timothy P. Maynard of

Hawks Quindel, S.C., Plaintiff was an hourly employee of Defendant Care Matters,

LLC and Je’Tunne Tillis (collectively referred to hereinafter as “Care Matters”) at

times since November 15, 2016.

      2.      Care Matters had a common policy and practice of requiring Plaintiff

to remain on the worksite during lunch breaks, but did not pay Plaintiff for this

time, so as to deny such employee for compensation for all hours worked.

      3.      Additionally, Care Matters had a common policy and practice of paying

Plaintiff only her regular wages for hours worked over forty in a workweek instead

of overtime premium compensation. As a result, Care Matters has denied Plaintiff



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Campbell of overtime pay in violation of the Fair Labor Standards Act of 1938, as

amended (“FLSA”) as well as overtime pay and agreed-upon wages in violation of

Wisconsin law.

      4.       Care Matters provides 24-hour in home care from a central office

located in Milwaukee, Wisconsin.

      5.       Plaintiff Shawana Campbell brings this action for the purpose of

obtaining relief under the FLSA for unpaid overtime compensation, liquidated

damages, costs, attorneys’ fees, and/or any such other relief the Court may deem

appropriate.

      6.       Plaintiff Shawana Campbell also brings this action for purposes of

obtaining relief under Wisconsin’s wage laws for unpaid overtime compensation,

unpaid agreed-upon wages, civil penalties, costs, attorneys’ fees, declaratory and/or

injunctive relief, and/or any such other relief the Court may deem appropriate.

                           JURISDICTION AND VENUE

      7.       This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331, this action being

brought under the FLSA, 29 U.S.C. §201, et seq.

      8.       The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367, as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.




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       9.      Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S.

District Court for the Eastern District of Wisconsin because a substantial part of

the events or omissions giving rise to the claim occurred within the district and

Defendant Care Matters has substantial and systematic contacts in this district.

                                          PARTIES

       10.     Defendant Care Matters, LLC is a Wisconsin Limited Liability

Company with a principal place of business located at 810 West Capitol Drive, Suite

7 in Milwaukee, Wisconsin. Care Matters, LLC’s registered agent for service of

process in the State of Wisconsin is Je’Tunne Tillis at 810 West Capitol Drive, Suite

7 in Milwaukee, WI.

       11.     Defendant Je’Tunne Tillis (“Tillis”) owns and operates Care Matters,

LLC.

       12.     Defendant Tillis oversees the day-to-day operations of Care Matters,

LLC and has operational control of the company. Defendant Tillis has control over

all human resources and compensation aspects of Care Matters, LLC’s operation.

Defendant Tillis can hire, fire, and discipline Care Matters, LLC’s employees,

including Plaintiff. Defendant Tillis determined the rates and methods of

compensation for Care Matters, LLC’s employees, including Plaintiff.

       13.     Joinder of Defendants is proper pursuant to FED. R. CIV. P. 20(a)(2)

because Plaintiff’s rights to relief are asserted against all Defendants and are

arising out of the same series of occurrences and common questions of law and fact.




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      14.    Defendants Care Matters, LLC and Je’Tunne Tillis will be collectively

referred to hereinafter as “Care Matters.”

      15.    Plaintiff Shawana Campbell (“Plaintiff Campbell”) is an adult resident

of Milwaukee County in the State of Wisconsin. Plaintiff Campbell is a former

employee of Care Matters who has worked as a Personal Caretaker since on or

around September, 2018.

                             GENERAL ALLEGATIONS

      16.    Plaintiff Campbell worked for Care Matters as an hourly employee of

Care Matters between on or around September 2018 and September 2019.

      17.    Care Matters specializes in 24-hour home care out of its office located

in Milwaukee, Wisconsin.

      18.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was paid on an hourly basis for her work for Care Matters.

      19.    While Plaintiff Campbell was employed by Care Matters, Care Matters

and Plaintiff Campbell agreed to specific hourly rates which were to be paid to

Plaintiff Campbell in exchange for her hours worked for Care Matters.

      20.    While Plaintiff Campbell was employed by Care Matters, Care Matters

implemented a lunch deduction policy applicable to Plaintiff Campbell where Care

Matters deducted a thirty-minute meal period each shift worked.

      21.    Plaintiff Campbell was not permitted to leave the worksite during the

thirty-minute meal period.




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      22.    While Plaintiff Campbell was employed by Care Matters, Care Matters

suffered or permitted Plaintiff Campbell to regularly work more than forty hours

during various workweeks.

      23.    Care Matters improperly denied Plaintiff Campbell of compensation at

one and one-half times her regular rates for hours worked in excess of forty in many

workweeks while employed by Care Matters.

      24.    While Plaintiff Campbell was employed by Care Matters, Care

Matters’ application of its meal period deduction policy resulted in Plaintiff

Campbell being suffered or permitted to perform work for Care Matters without

compensation at her agreed-upon hourly rates.

      25.    While Plaintiff Campbell was employed by Care Matters, Care Matters

implemented a wage payment policy applicable to Plaintiff Campbell where she was

paid only her regular hourly wage for hours worked in excess of forty hours in a

workweek.

      26.    While Plaintiff Campbell was employed by Care Matters, Care Matters

suffered or permitted Plaintiff Campbell to work more than forty hours during

workweeks in which Care Matters failed to pay overtime premium compensation.

      27.    As a result of applying this wage payment policy while Plaintiff

Campbell was employed by Care Matters, Care Matters improperly denied Plaintiff

Campbell of compensation at one and one-half times her respective regular rates for

all hours worked in excess of forty in workweeks.




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      28.    Care Matters’ conduct, as set forth in this complaint, was willful and in

bad faith, and has caused significant damages to Plaintiff Campbell.

                         FIRST CLAIM FOR RELIEF
       Violations of the Fair Labor Standards Act of 1938 as Amended

      29.    Plaintiff Campbell reasserts and incorporates by reference all

preceding paragraphs as if restated herein.

      30.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell has been entitled to the rights, protections, and benefits provided under

the FLSA, 29 U.S.C. §201 et. seq.

      31.    Since September 1, 2018, Care Matters has been and continues to be

an enterprise engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

      32.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of 29 U.S.C. § 203(e).

      33.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer of Plaintiff Campbell as provided under 29 U.S.C. § 203(d).

      34.    While Plaintiff Campbell was employed by Care Matters, Care Matters

violated the FLSA by failing to pay overtime compensation at one and one-half time

the regular rate due to Plaintiff Campbell for each hour worked in excess of forty

hours in any given workweek.

      35.    Plaintiff Campbell is entitled to damages equal to mandated overtime

premium pay for all hours worked within the three years prior to the filing of this

Complaint, plus periods of equitable tolling because Care Matters acted willfully




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and knew or showed reckless disregard for whether its conduct was prohibited by

the FLSA.

        36.   Care Matters’ failure to properly compensate Plaintiff Campbell and

failure to properly record all compensable work time was willfully perpetrated and

Plaintiff Campbell is therefore entitled to recover an award of liquidated damages

in an amount equal to the amount of unpaid overtime premium pay described above

pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b).

        37.   Alternatively, should the Court find that Care Matters did not act

willfully in failing to pay minimum and overtime premium wages, Plaintiff

Campbell is entitled to an award of pre-judgment interest at the applicable legal

rate.

        38.   Pursuant to FLSA, 29 U.S.C. §216(b), successful Plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid minimum wages and overtime wages.

                      SECOND CLAIM FOR RELIEF
  Violation of Wisconsin Law – Unpaid Agreed-Upon Wages and Overtime

        39.   Plaintiff Campbell re-alleges and incorporates by reference all

preceding paragraphs as restated herein.

        40.   While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of Wis. Stat. §§ 109.01 et seq.

        41.   While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of Wis. Stat. §§ 103.001 et seq.




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      42.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of Wis. Stat. §§ 104.01 et seq.

      43.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of Wis. Admin. Code §§ DWD

272.001 et seq.

      44.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell was an employee within the meaning of Wis. Admin. Code §§ DWD

274.01 et seq.

      45.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer within the meaning of Wis. Stat. §§ 109.01 et seq.

      46.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer within the meaning of Wis. Stat. §§ 103.001 et seq.

      47.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer within the meaning of Wis. Stat. §§ 104.01 et seq.

      48.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer within the meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      49.    While Plaintiff Campbell was employed by Care Matters, Care Matters

was an employer within the meaning of Wis. Admin. Code §§ DWD 274.01 et seq.

      50.    While Plaintiff Campbell was employed by Care Matters, Care Matters

employed Plaintiff Campbell within the meaning of Wis. Stat. §§ 109.01 et seq.

      51.    While Plaintiff Campbell was employed by Care Matters, Care Matters

employed Plaintiff Campbell within the meaning of Wis. Stat. §§ 103.001 et seq.




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       52.    While Plaintiff Campbell was employed by Care Matters, Care Matters

employed Plaintiff Campbell within the meaning of Wis. Stat. §§ 104.01 et seq.

       53.    While Plaintiff Campbell was employed by Care Matters, Care Matters

employed Plaintiff Campbell within the meaning of Wis. Admin. Code §§ DWD

272.001 et seq.

       54.    While Plaintiff Campbell was employed by Care Matters, Care Matters

employed Plaintiff Campbell within the meaning of Wis. Admin. Code §§ DWD

274.01 et seq.

       55.    While Plaintiff Campbell was employed by Care Matters, Plaintiff

Campbell regularly performed activities that were an integral and indispensable

part of the her principal activities without receiving compensation for these

activities.

       56.    While Plaintiff Campbell was employed by Care Matters, Care Matters

had, policies, programs, practices, procedures, protocols, routines, and rules of

willfully failing to properly pay Plaintiff Campbell agreed-upon and overtime wages

for all hours worked.

       57.    Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

       58.    The foregoing conduct, as alleged above, constitutes continuing, willful

violations of Wisconsin’s law requiring the payment of minimum, overtime, and

agreed upon wages.




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      59.    As set forth above, Plaintiff Campbell sustained losses in her

compensation as a proximate result of Care Matters’ violations. Accordingly,

Plaintiff Campbell seeks damages in the amount of her respective unpaid

compensation, injunctive relief requiring Care Matters to cease and desist from its

violations of the Wisconsin laws described herein and to comply with them, and

such other legal and equitable relief as the Court deems just and proper.

      60.    Under Wis. Stat. §109.11, Plaintiff Campbell may be entitled to

liquidated damages equal and up to fifty percent of their unpaid wages.

      61.    Plaintiff Campbell seeks recovery of attorneys’ fees and the costs of

this action to be paid by Care Matters, pursuant to the Wisconsin law.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiff Campbell hereby requests the following relief:

             a) Issuance of an Order, pursuant to the Declaratory Judgment Act,
                28 U.S.C. §§2201-2202, declaring Care Matters’ actions as described
                in the Complaint as unlawful and in violation of Wisconsin Law and
                applicable regulations;

             b) An Order finding that Care Matters violated the FLSA and
                Wisconsin wage and hour law;

             c) An Order finding that these violations are willful;

             d) Judgement against Care Matters in the amount equal to the
                Plaintiff’s, the Collective Wage Class’, and the Wisconsin Wage
                Class’ unpaid wages at the applicable minimum wage, agreed-upon
                wage, overtime premium rates;

             e) An award in the amount of all liquidated damages and civil
                penalties as provided under Wisconsin Law and the FLSA;




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            f) An award in the amount of all costs and attorney’s fees incurred
               prosecuting these claims as well as pre-judgment and post-
               judgement interest; and

            g) Such further relief as the Court deems just and equitable.


Dated this 21st day of February, 2020.

                                         Respectfully submitted,

                                         HAWKS QUINDEL S.C.
                                         Attorneys for Plaintiff


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